Case 6:11-cr-00090-MHS-KNM             Document 53        Filed 03/20/12      Page 1 of 2 PageID #:
                                             165



                          IN THE UNITED STATES DISTRICT COURT
                           FOR THE EASTERN DISTRICT OF TEXAS
                                     TYLER DIVISION

 UNITED STATES OF AMERICA                         §
                                                  §
 V.                                               §                           CASE NO. 6:11CR90
                                                  §
 MARGARET LANETTE GUNTER                          §



                 ORDER ADOPTING THE REPORT AND RECOMMENDATION
                     OF THE UNITED STATES MAGISTRATE JUDGE


         The above-styled matter was referred to the Honorable Judith K. Guthrie, United States

 Magistrate Judge, for administration of a guilty plea under Rule 11 of the Federal Rules of Criminal

 Procedure. Judge Guthrie conducted a hearing in the form and manner prescribed by Federal Rule

 of Criminal Procedure 11 and issued her Report and Recommendation (document #50) on February

 21, 2012.       Judge Guthrie recommended that the Court accept Defendant’s guilty plea and

 conditionally approve the Fed.R.Crim.P. 11(c)(1)(C) plea agreement. She further recommended that

 the Court finally adjudge Defendant as guilty of Count 1 of the Indictment filed against Defendant

 in this cause.

         The parties have not objected to the magistrate judge’s findings. The Court is of the opinion

 that the Report and Recommendation should be accepted. It is accordingly ORDERED that the

 Report and Recommendation of the United States Magistrate Judge (document #50) is ADOPTED.

 It is further




                                                 -1-
Case 6:11-cr-00090-MHS-KNM           Document 53        Filed 03/20/12     Page 2 of 2 PageID #:
                                           166




         ORDERED that the Defendant’s guilty plea is accepted and approved by the Court. Further,
    .
 the plea agreement is approved by the Court, conditioned upon a review of the presentence report.

 It is finally

         ORDERED that, pursuant to the Defendant’s plea agreement, the Court finds the Defendant

 GUILTY of Count 1 of the Indictment in the above-numbered cause and enters a JUDGMENT

 OF GUILTY against the Defendant as to Count 1 of the Indictment.

         SIGNED this 20th day of March, 2012.




                                                        ____________________________________
                                                        MICHAEL H. SCHNEIDER
                                                        UNITED STATES DISTRICT JUDGE




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